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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                               CASE NO. 21-62000-CIV-DIMITROULEAS

 LAZARO LUIS MARTIN,

          Plaintiff,
 v.

 NELSON GARCIA,
 INTERAMERICAN SOLUTIONS, LLC,

       Defendants.
 _____________________________________/

                                NOTICE TO PARTIES IN FLSA CASES

          In this action, Plaintiff alleges a violation of the Fair Labor Standards Act (“FLSA”), 29

 U.S.C. ' 201 et seq. See [DE 1]. The Court deems it advisable to inform the parties of this

 Court’s policies and procedures in FLSA cases.

          1. Any settlement, bargain, or other compromise resolving an FLSA claim must either

 be presented to the Secretary of Labor or scrutinized by the district court for fairness. Lynn=s

 Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). In considering

 settlement of an FLSA claim, the Court is to determine whether the settlement is a Afair and

 reasonable resolution of a bona fide dispute@ of the FLSA issues. Lynn's Food Stores, 679 F.2d

 at 1354B55.

          2. Ordinarily, a district court has no discretion to deny a plaintiff=s right to dismiss under

 Federal Rule of Civil Procedure 41(a)(1), nor may the court attach any conditions to that right.

 See Williams v. Ezell, 531 F.2d 1261, 1263-64 (5th Cir. 1976). 1 However, this Court adopts the


          1
            The Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit issued prior to
 October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981).
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 position that the principles articulated in Lynn=s Food create an exception to Rule 41(a)(1). See,

 e.g. Perez-Nunez v. N. Broward Hosp. Dist., 609 F. Supp. 2d 1319, 1319-21 (S.D. Fla. 2009)

 (“This Court rejects Defendant=s position that a court need not approve the terms under which a

 plaintiff may dismiss an FLSA claim with prejudice.”).

        3. Accordingly, any voluntary dismissal or stipulation of dismissal will require the

 parties to submit a settlement agreement for judicial review and approval. Further, the Court

 finds that in order to effectuate the Eleventh Circuit=s requirement dictated by Lynn=s Food, even

 dismissals without prejudice require the Court to review any settlement agreement that has been

 reached by the parties. See Lynn=s Food, 679 F.2d at 1352 (ACongress made the FLSA=s

 provisions mandatory; thus, the provisions are not subject to negotiation or bargaining between

 employers and employees.@).

        4. The Court recognizes that there may be situations in which the plaintiff chooses to

 voluntarily dismiss the case, even if there has been no settlement or compromise.

                (1)     In that event, the court will require the notice of voluntary dismissal to
                        affirmatively state that (a) no settlement agreement has been reached, and
                        (b) the plaintiff has voluntarily chosen to abandon the FLSA claims at this
                        time.

                (2)     The Court will construe such a dismissal to be without prejudice,
                        regardless of the language used in the notice. Plaintiff will be able to re-
                        file or otherwise pursue the claim in the future, subject to the statute of
                        limitations.

        5. Settlement agreements may not be filed under seal, unless there are extraordinary

 circumstances. See Brown v. Advantage Eng=g Inc., 960 F.2d 1013, 1016 (11th Cir. 1992)

 (AOnce a matter is brought before a court for resolution, it is no longer solely the parties= case,

 but also the public=s case. Absent a showing of extraordinary circumstances . . . the court file


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 must remain accessible to the public.@). The Court emphasizes that any circumstance to file

 under seal must be truly extraordinary to justify keeping the agreement from the public court file.

 As a result, the Court is unlikely to grant motions to file FLSA settlement agreements under seal.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

 this 27th day of September, 2021.




 Copies furnished to:

 Counsel of record




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